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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                                    )
 In re:                                             )   Chapter 11 (Subchapter V)
                                                    )
 FREE SPEECH SYSTEMS LLC,                           )   Case No. 22-60043 (CML)
                                                    )
                       Debtor.                      )
                                                    )
                                                    )
 In re:                                             )   Chapter 11
                                                    )
 ALEXANDER E. JONES,                                )   Case No. 22-33553 (CML)
                                                    )
                       Debtor.                      )
                                                    )

                     CONNECTICUT FAMILIES’ UPDATED
                  CONSOLIDATED WITNESS AND EXHIBIT LIST

Judge                   Hon. Christopher M. Lopez
Hearing Date            Friday, June 14, 2024
Hearing Time            10:00 a.m. (CT)
Party’s Name            Connecticut Families (as defined below)
Attorney’s Names        Ryan Chapple, Kyle J. Kimpler, Paul A. Paterson, Alinor Sterling
                        (Connecticut Families)
Attorney’s Phone        512-477-5000 (Ryan Chapple)

Nature of Proceeding    Debtor’s Emergency Motion for Entry of an Order Converting
                        Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the
                        Bankruptcy Code [22-33553 Dkt. 684];
                        Emergency Motion of the Connecticut Families for an Order
                        Pursuant to Bankruptcy Code Sections 105(a) and 1112(b)
                        Converting the Debtor’s Chapter 11 Case to a Case Under Chapter
                        7 of the Bankruptcy Code [22-60043 Dkt. 921]

          David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole

Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto,

Jillian Soto-Marino, William Aldenberg, William Sherlach, Robert Parker, and Erica Ash




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(collectively, the “Connecticut Families”) hereby submit this Consolidated Witness and

Exhibit List (“Witness and Exhibit List”) in connection with the hearing on (a) Debtor’s

Emergency Motion for Entry of an Order Converting Debtor’s Chapter 11 Case to a Case

Under Chapter 7 of the Bankruptcy Code [22-33553 Dkt. 684] and (b) Emergency

Motion of the Connecticut Families for an Order Pursuant to Bankruptcy Code Sections

105(a) and 1112(b) Converting the Debtor’s Chapter 11 Case to a Case Under Chapter 7

of the Bankruptcy Code [22-60043 Dkt. 921], to be held on Friday, June 14, 2024, at

10:00 a.m. (Central Time).

       The Connecticut Families reserve the right to supplement, amend, or revise this

Witness and Exhibit List at any time prior to the hearing. The Connecticut Families

reserve the right to supplement the Witness and Exhibit List with new witnesses and

additional exhibits. Further, the Connecticut Families reserve the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document.

The Connecticut Families further reserve the right to introduce exhibits previously

admitted.

                                      WITNESS LIST

       The Connecticut Families may call the following witnesses at the hearing:

       1.     Vida J. Robinson;
       2.     Alexander E. Jones;
       3.     Patrick Magill;
       4.     Any witness necessary to rebut the testimony of any witness called or
              designated by any other parties;
       5.     Any witness listed or called by any other party.
                                      EXHIBIT LIST

       The Connecticut Families may offer for admission into evidence any of the

following exhibits at the hearing:



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                                                           Admitted/   Disposition
 No.          Description           Offered    Objection     Not
                                                           Admitted
  1.   Debtor’s Emergency
       Motion for Entry of an
       Order Converting Debtor’s
       Chapter 11 Case to a Case
       Under Chapter 7 of the
       Bankruptcy Code [22-
       33553 Dkt. 684]

  2.   Emergency Motion of the
       Connecticut Families for
       an Order Pursuant to
       Bankruptcy Code Sections
       105(a) and 1112(b)
       Converting the Debtor’s
       Chapter 11 Case to a Case
       Under Chapter 7 of the
       Bankruptcy Code [22-
       60043 Dkt. 921]

  3.   Declaration of Vida J.
       Robinson in Support of
       the Connecticut Families’
       Emergency Motion to
       Convert the FSS Case and
       in Support of Debtor’s
       Emergency Motion to
       Convert the Jones Case

  4.   Transcription (Excerpts)
       of Breaking: Deep State
       Attempted to Shut Down
       Infowars Headquarters
       Last Night [Exhibit A to
       Vida J. Robinson
       Declaration]

  5.   Transcription (Excerpts)
       of Is This Infowars’ Last
       Broadcast? Patriots
       Rally Behind Alex Jones
       and Crew [Exhibit B to
       Vida J. Robinson
       Declaration]




CONNECTICUT FAMILIES’ UPDATED WITNESS AND EXHIBIT LIST—PAGE 3
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  6.    Transcription of Infowars
        On The Edge: Alex Jones
        Gives A Bankruptcy
        Update [Exhibit C to Vida
        J. Robinson Declaration]

  7.    Screenshots of
        “InfoWarsLife”-branded
        Products Marketed on Dr.
        Jones’ Naturals Website
        as of June 11, 2024
        [Exhibit D to Vida J.
        Robinson Declaration]

  8.    Screenshots of
        “InfoWarsLife”-branded
        Products Previously
        Available on InfoWars
        Store website [Exhibit E
        to Vida J. Robinson
        Declaration]

  9.    Screenshot of Dr. Jones’
        Naturals Website
        Homepage as of June 11,
        2024 [Exhibit F to Vida J.
        Robinson Declaration]

  10.   Global Notes and
        Statement of Limitations,
        Methodology, and
        Disclaimer Regarding
        Debtor’s Amended
        Schedules and Statements
        filed on April 30, 2024
        [22-60043, Dkt. No. 900]
        [Exhibit G to Vida J.
        Robinson Declaration]




CONNECTICUT FAMILIES’ UPDATED WITNESS AND EXHIBIT LIST—PAGE 4
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  11.   Global Notes and
        Supporting Information
        Regarding Second
        Amended Schedules of
        Assets and Liabilities and
        Statement of Financial
        Affairs filed on April 18,
        2024 [22-33553, Dkt.
        242] [Exhibit H to Vida J.
        Robinson Declaration]

  12.   Jones’[s] Response and
        Objection to Debtor’s
        Emergency Motion for
        Court Instructions and
        Motion to Convert [22-
        60043, Dkt. 943]

  13.   Screenshot of Alexander
        Jones’s X Account as of
        June 13, 2024

  14.   Transcription (Excerpts)
        of Ships and Submarine
        Loaded With Nuclear
        Weapons Arrived In
        Havana Harbor, Cuba As
        Russia Rattles Atomic
        Sabor!

        Any document or pleading
        filed in the above-
        captioned cases

        Any exhibits identified or
        offered by any other party

        Any exhibits necessary for
        impeachment and/or
        rebuttal purposes

                     [Remainder of page intentionally left blank]




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Respectfully submitted this 13th day of June 2024.

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                                                Co-Counsel to the Connecticut
                                                Plaintiffs




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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Witness and Exhibit
List has been served on counsel for Debtors, Debtors, and all parties receiving or entitled
to notice through CM/ECF on this 13th day of June 2024.


                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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